                                                                                   FILED
                                                                                   4/26/19 3:55 pm
                                                                                   CLERK
                                                                                   U.S. BANKRUPTCY
                      IN THE UNITED STATES BANKRUPTCY COURT                        COURT - WDPA
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA

IN RE:

SALSGIVER TELECOM, INC.                         :    Case No. 18-20805 TPA
                                                :
               Debtor                           :    Chapter 11

         SALSGIVER, INC.             :
         SALSGIVER TELECOM, INC      :               Adversary No. 19-2049
                                     :
                   Plaintiffs        :               Related to Document No. 24
                                     :
              v.                     :
                                     :
         VERIZON PENNSYLVANIA, INC., :
         VERIZON NORTH, INC. and     :
         VERIZON COMMUNICATIONS,     :
         INC.                        :
                                     :
                   Defendants        :               Hearing: May 13, 2019 at 11:00 A.M.


                                             ORDER


               AND NOW, this 26th day of April, 2019, Motion to Dismiss Case Pursuant to

F.R.C.P. 12(b)(6) (“Motion”) having been filed by Defendant at Document No. 24,


               It is hereby ORDERED, ADJUDGED and DECREED that,


               (1)      A Status Conference on the Motion is scheduled for May 13, 2019 at 11:00

A.M. in Courtroom C, 54th Floor, U.S. Steel Tower, 600 Grant Street, Pittsburgh, PA 15219.

               (2)      On or before May 10, 2019, Debtors are to file a Response to the Motions.


               (3)      The Court will issue a further Order scheduling argument on the Motions

to Dismiss on a later date as necessary.
              (4)     Counsel for the Moving Party shall IMMEDIATELY serve a copy of this

Order upon all parties from whom relief is sought and their counsel.




                                                    ____________________________________
                                                      Thomas P. Agresti, Judge
                                                      United States Bankruptcy Court

Case Administrator to serve:
      Andrew Jack Horowitz, Esq.
